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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF OKLAHOMA


DUANE & VIRGINIA LANIER TRUST, Case No. 5:15-CV-00634-G
Individually and On Behalf of All Others
Similarly Situated,                      CLASS ACTION

                        Plaintiffs,

v.

SANDRIDGE MISSISSIPPIAN TRUST I,
SANDRIDGE MISSISSIPPIAN TRUST II,
TOM L. WARD, JAMES D. BENNETT,
MATTHEW K. GRUBB, RANDALL D.
COOLEY, JIM J. BREWER, EVERETT R.
DOBSON, WILLIAM A. GILLILAND,
DANIEL W. JORDAN, ROY T. OLIVER,
JR., JEFFREY S. SEROTA, D. DWIGHT
SCOTT,     RAYMOND      JAMES   &
ASSOCIATES,       INC.,   MORGAN
STANLEY & CO. LLC (F/K/A MORGAN
STANLEY & CO INC.), MERRILL
LYNCH, PIERCE, FENNER & SMITH,
INC., CITIGROUP GLOBAL MARKETS
INC., and RBC CAPITAL MARKETS,
LLC,

                        Defendants.

SANDRIDGE ENERGY, INC.,

                   Nominal Defendant.




        NOTICE OF MOTION FINAL APPROVAL OF CLASS ACTION
     SETTLEMENT, FINAL CERTIFICATION OF CLASS, AND TO MODIFY
                       PLAN OF ALLOCATION



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       PLEASE TAKE NOTICE that pursuant to the Court’s Order preliminarily

approving the Settlement (ECF No. 468), on October 6, 2022 at 2:00 p.m. before the

Honorable Charles B. Goodwin, of the United States District Court for the Western

District of Oklahoma, 200 N.W. 4th Street, Courtroom 103, Oklahoma City, Oklahoma

73102, Lead Plaintiffs the Duane & Virginia Lanier Trust, Ivan Nibur, Jase Luna,

Matthew Willenbucher, and Reed Romine (“Plaintiffs”), 1 will move this Court for entry

of an Order: (i) granting final approval of the partial Settlement of the Action on the

terms set forth in the Stipulation; (ii) approving the Proposed Plan of Allocation for

distribution of the Net Settlement Fund; and (iii) finally certifying the Settlement Class

for settlement purposes only.

       This motion is based on this Notice of Motion, the Memorandum of Law in

support, the Declaration of Jonathan Horne, and all exhibits thereto, and all pleadings,

records, and papers on file herein.

       A proposed order will be submitted on reply.

Dated: August 12, 2022                    /s/ Jonathan Horne

                                          Jonathan Horne (Admitted Pro Hac Vice)
                                          Phillip Kim (Admitted Pro Hac Vice)
                                          Laurence M. Rosen (Admitted Pro Hac Vice)
                                          THE ROSEN LAW FIRM, P.A.
                                          275 Madison Avenue, 40th Floor
                                          New York, New York 10016
                                          Telephone: (212) 686-1060
                                          Fax: (212) 202-3827
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  Unless otherwise indicated, all capitalized terms have the meanings set forth in the
Stipulation and Agreement of Settlement (“Stipulation”) (ECF No. 463).

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                           Additional Plaintiffs’ Counsel




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                           CERTIFICATE OF SERVICE

             I hereby certify that on August 12, 2022, a true and correct copy of the

foregoing NOTICE OF MOTION FINAL APPROVAL OF CLASS ACTION SETTLEMENT,

FINAL CERTIFICATION OF CLASS, AND TO MODIFY PLAN OF ALLOCATION was

served by CM/ECF to the parties registered to the Court’s CM/ECF system.



Executed on August 12, 2022                         /s/ Jonathan Horne
                                                    Jonathan Horne




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